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                                                                              'AUG 1 ®2018
                      UNITED STATES DISTRICT COURT          ~A
               FOR THE EASTERN DISTRICT OF NORTH CAROLINAavus-+o-11q+--~­
                            NORTHERN DIVISION

                              NO.   z:/8-ct- ooozq-1 BO
uNITED STATES OF AMERICA

          v.                                          I N F 0 R MA T I 0 N

JOSE JAIME RAMIRO-TORRES


    The United States Attorney charges that:

                              General Allegations

    At all times relevant to this Information:

    1.     The Immigration and Nationality Act                    (INA)    governs the

immigration laws of the United States.

    2.     The    term   "alien"          means   any person not       a    citizen or

national of the United States.

    3.     Pursuant      to    the        INA,    aliens   are   not      permitted   to

permanently reside in the United States unless they are lawful

permanent residents.

    4.     The defendant-,          JOSE JAIME RAMIRO-TORRES,             was an alien

born in San Salvador, El Salvador.    I




    5.     On March 21,        1990,        the defendant,       JOSE JAIME RAMIRO-

TORRES, was granted lawful permanent resident status in the United

States pursuant to the INA.



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    6.     Since March 21, 1990, the defendant, JOSE JAIME RAMIRO-

TORRES, has neither applied for United States citizenship, been

naturalized as a United States citizen, nor has met the criteria

for derivative citizenship.

    7.     On June    10,   2011,   the   defendant,    JOSE   JAIME RAMIRO-

TORRES,   registered to vote in North Carolina and attested under

the penalty of perjury that he was a citizen of the United States.

    8.     The defendant, JOSE JAIME RAMIRO-TORRES, was assigned a

polling place located in Washington County, North Carolina.

    9.     The    statute    of     limitations   for     false   claim   of

citizenship with the intent to vote is five years.

    10.    The defendant,     JOSE JAIME RAMIRO-TORRES,        voted in the

General Election of 2016 in Washington County, North Carolina.

    11.    Washington County is located in the Eastern District of

North Carolina.



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                                       COUNT ONE

         On or about November 8, 2016, in the Eastern District of North

Carolina,          the   defendant,   JOSE       JAIME   RAMIRO-TORRES,   an   alien,

knowing he was not a United States citizen, did knowingly vote in

an election held in part for the purpose of electing a candidate

for the off ice of President,            Vice President,        and Member of the

House of Representatives, in violation of Title 18, United States

Code, Section 611(a).




ROBERT J. HIGDON, JR.
United States Attorney




BY: SEBASTIAN KIELMANOVICH
Assistant United States Attorney



       8-15-2018
DATE




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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA

                                             AFFIDAVIT


                                            BACKGROUND

      1.     I,    Jahaira 'Torrens              (hereinafter "your affiant"),                     am a

Special Agent (S/A) of               th~    Department of Homeland Security (DHS),

under Immigration and Customs Enforcement (ICE), Homeland Security

Investigations          (HSI),       formerly          known     as        the       Immigration     and

Naturalization Service                (INS) .     Previous to my appointment as an

ICE-HSI     S/A,    I    was     a    Detective          with        the    Puerto        Rico    Police

Department for approximately fifteen years. As part of my duties

I   conducted       investigations               related        to     controlled             substances
                                                                                 '

trafficking,       identity theft,               public corruption,                  violent crimes,

and other violations. I have been a S/A with the federal government

for approximately nine years. I am currently assigned to the ICE-

HSI Resident Agent in Charge,. Raleigh, North                              C~rolina       Field-Office

·(ICE-HSI RAC/RA). I have training a.nd experience in the application

for and service of arrest and search warrants. ,MY duties routinely

include the investigation of violations of Titles 8, 18, 19, 21,

and 31 of the United States Code.

     2.      This       affidavit           is    made     in        support         of   a    criminal

information        against           Jose        Jaime     Ramiro-Torres                  (hereinafter

"RAMIRO")    for voting by alien,                  in violation of Title 18, United

States Code, Section 611(a).

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      3.     This affidavit is submitted for the limited purpose of

establishing probable cause that RAMIRO committed the offense of

voting by alien,      in violation of Title 18,          United States Code,

Section 611 (a) .    For this reason,        your aff iant has not included

details of every aspect of this investigation,                rather only such

information as necessary. Your affiant is.thoroughly familiar with

the   information    contained    in   this     afffdavit,      either   through

personal investigation or discussions with other law enforcement

officers    who   have   interviewed       individuals   or    personally   have

obtained information which they in turn have                  reported to   your

affiant.

                              PROBABLE CAUSE

      4.    Government databases reflect the following information

relative to RAMIRO:

            a. RAMIRO is an alien born in San Salvador, El Saivador.

            b. On March 21, 1990, RAMIRO was granted lawful permanent

resident status .in the United States.·

            c. Since March 21, 1990, RAMIRO has neither applied for

United States citizenship,       been naturalized as a           United States

citizen, nor has met the criteria fdr derivation of United States

citizenship.·

            d. On June 10, 2011, RAMIRO registered to vote in North

Carolina and attested under the penalty of perjury that he was a

citizen of the United States.

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            e. RAMIRO    was   assigned   a   polling    place     located     in

Washington County, North Carolina.

            f.   RAMIRO voted in   the General        Elections    of   2016   in

Washington County, North Carolina.

                                CONCLUSION

     5.     Based on the foregoing, I, Jahaira Torrens, believe that

there is ample probable cause to conclude that Jose Jaime Ramiro-

Totres was not a citizen of the United States at the time he voted

and is thus guilty of voting by alien,         in violation of Title 18,

United States Code,      Section 611 (a).     Your af fiant       respectfully

asks that the Court issue a warrant ordering his arrest for such

crime.



                                                  ,


                        Jah '.ta Torrens
                                                11J
                        Spe ial Agent
                        Homeland Security r'nvestigations




On th'is  JfL_ day of August 2018, Special Agent Jahaira Torrens
appeared before me via reliable electroriic means, was plac~d under
oath, and attested to the contents of this Affidavit.




United States Magistrate Judge
Eastern District of North Carolina


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